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                                   3                                 UNITED STATES DISTRICT COURT

                                   4                             NORTHERN DISTRICT OF CALIFORNIA

                                   5                                         SAN JOSE DIVISION

                                   6

                                   7     ELIZABETH WEISS,                                   Case No. 22-cv-00641-BLF
                                   8                    Plaintiff,
                                                                                            ORDER DENYING WITHOUT
                                   9             v.                                         PREJUDICE STIPULATION TO
                                                                                            EXTEND BRIEFING SCHEDULE ON
                                  10     STEPHEN PEREZ, et al.,                             UPCOMING MOTION TO DISMISS
                                  11                    Defendants.                         [Re: ECF No. 83]
                                  12
Northern District of California
 United States District Court




                                  13          The parties have submitted a stipulation seeking to extend the deadline for Defendants to

                                  14   file their motion to dismiss the First Amended Complaint and set an extended briefing schedule on

                                  15   the motion. See ECF No. 83. Defendants seek to retain their already reserved hearing date of

                                  16   October 13, 2022, even though they will not file their motion until 22 days after the hearing date

                                  17   was reserved. See Standing Order re Civil Cases § III.A.

                                  18          The parties’ stipulation is DENIED WITHOUT PREJUDICE. While the Court is
                                  19   amenable to a continued filing date and an extended briefing schedule (provided that it receives

                                  20   the final brief at least 14 days before a scheduled hearing), Defendants must reserve a hearing date

                                  21   no earlier than 14 days prior filing their motion. At the time of filing, an October 13, 2022 hearing

                                  22   date may still be available, but the parties cannot jump the line by prematurely reserving that date.

                                  23   The parties may file a revised stipulation in compliance with this Order if they wish to do so.

                                  24          IT IS SO ORDERED.

                                  25

                                  26   Dated: June 17, 2022
                                  27                                                    ______________________________________
                                                                                        BETH LABSON FREEMAN
                                  28                                                    United States District Judge
